It has been agreed by the parties to this appeal, by stipulation filed herein, that the appeal may be submitted upon the transcript on file in this case and upon the briefs on file in the case of Mary O'Connor Moore, Administratrix etc. v. Mrs.George Trott, L.A. No. 2103, which was decided by this court for reasons given in the opinion therein filed on October 8, 1909, (156 Cal. 353, [134 Am. St. Rep. 131, 104 P. 578]). The present case involves the question of the delivery of a deed which was given in escrow to Mr. Teitzen in the same inclosure, at the same time, and under the same circumstances as the deed under consideration in Moore v. Trott, 156 Cal. 353, [134 Am. St. Rep. 131, 104 P. 578]. It was decided by the court below in favor of the defendant and the plaintiff appeals from an order denying her motion for a new trial. Upon the authority of the decision inMoore v. Trott, and for like reasons, the order of the superior court denying a new trial is reversed.